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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:14-CR-00238 GEB
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           [PROPOSED] FINDINGS AND ORDER
14   RICKY MARTIN HUERTA,                                DATE: December 19, 2014
                                                         TIME: 9:00 a.m.
15                                Defendant.             COURT: Hon. Garland E. Burrell, Jr.
16

17                                               STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.      By previous order, this matter was set for status on December 19, 2014.

21          2.      By this stipulation, parties now move to continue the status conference until January 9,

22 2015, and to exclude time between December 19, 2014, and January 9, 2015, under Local Code T4. The

23 parties believe that the January 9, 2015, status conference will be a change of plea.

24          3.      The parties agree and stipulate, and request that the Court find the following:

25                  a)     The government has represented that the discovery associated with this case

26          includes investigative reports and related documents in electronic form, including approximately

27          180 pages of documents and pictures. Discovery has been either produced directly to counsel

28          and/or made available for inspection and copying.


      STIPULATION REGARDING EXCLUDABLE TIME              1
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 1                  b)      Counsel for defendant desires additional time to consult with his client, review he

 2          current charges, review discovery for this matter, and to discuss discovery with his client as it

 3          relates to entry of a guilty plea.

 4                  c)      Counsel for defendant believes that failure to grant the above-requested

 5          continuance would deny him/her the reasonable time necessary for effective preparation, taking

 6          into account the exercise of due diligence.

 7                  d)      The government does not object to the continuance.

 8                  e)      Based on the above-stated findings, the ends of justice served by continuing the

 9          case as requested outweigh the interest of the public and the defendant in a trial within the

10          original date prescribed by the Speedy Trial Act.

11                  f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

12          et seq., within which trial must commence, the time period of December 19, 2014 to January 9,

13          2015, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

14          T4] because it results from a continuance granted by the Court at defendant’s request on the basis

15          of the Court’s finding that the ends of justice served by taking such action outweigh the best

16          interest of the public and the defendant in a speedy trial.

17          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

18 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

19 must commence.

20          IT IS SO STIPULATED.

21

22
     Dated: December 15, 2014                                 BENJAMIN B. WAGNER
23                                                            United States Attorney
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                                                              /s/ CHRISTIAAN HIGHSMITH
25                                                            CHRISTIAAN HIGHSMITH
                                                              Assistant United States Attorney
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     Dated: December 15, 2014                      /s/ RICARDO HERNANDEZ
 1                                                 RICARDO HERNANDEZ
                                                   Counsel for Defendant
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                                                   Ricky Martin Huerta
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 6                               [PROPOSED] FINDINGS AND ORDER

 7         IT IS SO FOUND AND ORDERED.

 8   Dated: December 18, 2014

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      STIPULATION REGARDING EXCLUDABLE TIME    3
      PERIODS UNDER SPEEDY TRIAL ACT
